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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

 ALBERT MARIO RUSSAW,                              *

                      Plaintiff,                   *
 v.                                                    Case No. 5:25-cv-00076-MTT-ALS
                                                   *
 JUDGE KATHERINE K LUMSDEN,
                                                   *
                   Defendant.
 ___________________________________               *


                                        JUDGMENT

       Pursuant to this Court’s Order dated March 12, 2025, and for the reasons stated therein,

JUDGMENT is hereby entered dismissing this case. Plaintiff shall recover nothing of Defendant.

        This 13th day of March, 2025.

                                           David W. Bunt, Clerk


                                           s/ Erin Pettigrew, Deputy Clerk
